Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 1 of 8 Page ID
                                 #:3230
Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 2 of 8 Page ID
                                 #:3231
Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 3 of 8 Page ID
                                 #:3232
Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 4 of 8 Page ID
                                 #:3233
Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 5 of 8 Page ID
                                 #:3234
Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 6 of 8 Page ID
                                 #:3235
Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 7 of 8 Page ID
                                 #:3236
Case 8:19-cv-01998-JVS-JDE Document 37-13 Filed 10/21/19 Page 8 of 8 Page ID
                                 #:3237
